                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

 ASURION, LLC,                                )
                                              )
         Plaintiff,                           )
                                              )     No. 3:23-cv-00424
 v.                                           )
                                              )     Judge Trauger
 BRYAN CAVE LEIGHTON PAISNER,                 )
 LLP,                                         )
                                              )
         Defendants.                          )

                                         ORDER

        It is hereby ORDERED that the Clerk shall place under seal Defendant’s Preliminary

Response to, And Request for a Briefing Schedule on, Asurion’s Motion for Temporary

Restraining Order (Docket No. 10).

        It is so ORDERED.


                                                  _____________________________________
                                                  ALETA A. TRAUGER
                                                  U. S. District Judge




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